Case 1:16-cv-00960-JTN-ESC ECF No. 58 filed 12/19/17 PageID.254 Page 1 of 11



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF MICHIGAN

KYLE SULLIVAN and JEANNE
SLOAN, individually and on behalf
of all others similarly situated,                    Case No. 1:16-cv-00960-JTN-ESC

                       Plaintiffs,
                                                       Order Granting Preliminary
       v.                                            Approval of Class Action Settlement


WENNER MEDIA LLC, a Delaware
corporation,

                       Defendant.

                       ORDER GRANTING PRELIMINARY APPROVAL
                          OF CLASS ACTION SETTLEMENT

       Plaintiffs have filed a Motion for Preliminary Approval of Class Action Settlement

(“Motion”). Having reviewed the Motion and supporting materials, the Court determines and

orders as follows:

       A.      Counsel have advised the Court that the Parties have agreed, subject to final

approval by this Court following notice to the proposed Settlement Class and a hearing, to settle

this Action on the terms and conditions set forth in the Settlement Agreement and Release of

Claims (the “Agreement”).
       B.      The Court has reviewed the Agreement, as well as the files, records, and

proceedings to date in this matter. The terms of the Agreement are hereby incorporated as

though fully set forth in this Order. Capitalized terms shall have the meanings attributed to them

in the Agreement.

       C.      Based upon preliminary examination, it appears to the Court that the Agreement

is sufficiently fair, reasonable, and adequate to warrant notice to the proposed Settlement Class;

that the Settlement Class should be certified for settlement purposes; and that the Court should




4852-2084-8977v.4 0055960-000024
Case 1:16-cv-00960-JTN-ESC ECF No. 58 filed 12/19/17 PageID.255 Page 2 of 11




hold a hearing after notice to the Settlement Class to determine whether to enter a Settlement

Order and Final Judgment in this action, based upon that Agreement.

         Based upon the foregoing, the Court finds and concludes as follows:

         1.        Preliminary Approval of Proposed Settlement. The Agreement, including all

exhibits thereto, is preliminarily approved as fair, reasonable and adequate. The Court finds that

(a) the Agreement resulted from extensive arm’s-length negotiations, with participation of an

experienced mediator, and (b) the Agreement is sufficient to warrant notice thereof to members

of the Settlement Class and the Settlement Hearing described below.

         2.        Class Certification for Settlement Purposes Only.

                   (a)      Pursuant to Fed. R. Civ. P. 23(b)(3), the Court, for settlement purposes

only, conditionally certifies the following Settlement Class:

                   All persons with Michigan street addresses who received a subscription to
                   Rolling Stone, Men’s Journal, or Us Weekly and were subscribers between
                   January 1, 2010, and December 31, 2011.
The Settlement Class includes Direct Subscriber Subclass Members and Indirect

Subscriber Subclass Members as defined in Paragraphs 1.04 and 1.09 of the Agreement.

The Settlement Class does not include Defendant, any affiliate, parent, or direct or

indirect subsidiary, or any entity that has a controlling interest therein, or their current or

former directors, officers, managers, employees, partners, advisors, counsel, and their

immediate families. The Settlement Class also does not include any persons who validly

request exclusion from the Settlement Class.

                   (b)      In connection with the certification, the Court makes the following

preliminary findings:

                            (1)    The Settlement Class satisfies Fed. R. Civ. P. 23(a)(1) because the

Settlement Class appears to be so numerous that joinder of all members is impracticable;

                            (2)    The Settlement Class satisfies Fed. R. Civ. P. 23(a)(2) because

there appear to be questions of law or fact common to the Settlement Class;


                                                      2
4852-2084-8977v.4 0055960-000024
Case 1:16-cv-00960-JTN-ESC ECF No. 58 filed 12/19/17 PageID.256 Page 3 of 11




                            (3)    The Settlement Class satisfies Fed. R. Civ. P. 23(a)(3) because the

claims of the Representative Plaintiffs named in the caption appear to be typical of the claims

being resolved through the proposed settlement;

                            (4)    The Settlement Class satisfies Fed. R. Civ. P. 23(a)(4) because the

Representative Plaintiffs appear to be capable of fairly and adequately protecting the interests of

the above-described Settlement Class in connection with the proposed settlement and because

counsel representing the Settlement Class are qualified, competent, and capable of prosecuting

this action on behalf of the Settlement Class.

                            (5)    The Settlement Class satisfies the requirements of Fed. R. Civ. P.

23(b)(3) because, for purposes of settlement approval and administration, common questions of

law and fact appear to predominate over questions affecting only individual Settlement Class

Members and because settlement with the above-described Settlement Class appears to be

superior to other available methods for the fair and efficient resolution of the claims of the

Settlement Class. The Settlement Class appears to be sufficiently cohesive to warrant settlement

by representation.

                   (c)      In making the foregoing findings, the Court has exercised its discretion in

conditionally certifying a settlement class.

         3.        Representative Plaintiffs. For settlement purposes only, the Court hereby

appoints Plaintiffs Kyle Sullivan and Jeanne Sloan as Representative Plaintiffs pursuant to Rule

23 of the Federal Rules of Civil Procedure, and finds that, for settlement purposes only, Mr. Kyle

and Ms. Sloan have and will fairly and adequately protect the interests of the Settlement Class.

         4.        Class Counsel. For settlement purposes only, the Court appoints Gary F. Lynch

of Carlson Lynch Sweet Kilpela & Carpenter, LLP and Daniel O. Myers of The Law Office of

Daniel O. Myers as counsel for the Settlement Class (“Class Counsel”). For purposes of these

settlement approval proceedings, the Court finds that Class Counsel are competent and capable

of exercising their responsibilities as Class Counsel.



                                                      3
4852-2084-8977v.4 0055960-000024
Case 1:16-cv-00960-JTN-ESC ECF No. 58 filed 12/19/17 PageID.257 Page 4 of 11




         5.        Settlement Administrator. The Court appoints JND Legal Administration as the

Settlement Administrator, which shall fulfill the Settlement Administration functions, duties, and

responsibilities of the Settlement Administrator as set forth in the Agreement and this Order.

         6.    Settlement Hearing. A final approval hearing (the “Settlement Hearing”) shall be
                       at a date and time to be noticed by the Court,
held before this Court on ________________, at ________ a.m./p.m., to determine whether the

Agreement is fair, reasonable, and adequate and should be given final approval. Papers in

support of final approval of the Agreement and Class Counsel’s application for an award of

attorneys’ fees and costs, and for an Incentive Award to the Representative Plaintiffs (the “Fee

and Cost Application”) shall be filed with the Court according to the schedule set forth in

Paragraphs 14 and 15, below. The Court may postpone, adjourn, or continue the Settlement

Hearing without further notice to the Settlement Class. After the Settlement Hearing, the Court

may enter a Settlement Order and Final Judgment in accordance with the Agreement (the “Final

Judgment”), which will adjudicate the rights of the Settlement Class Members with respect to the

claims being settled.

         7.        Class Notice. The Court approves the form and content of the notices

substantially in the forms attached as Exhibits B and C to the Agreement. Defendant shall

comply with the notice requirements of Paragraph 3.03 of the Agreement. In compliance with

that Paragraph, beginning no later than thirty (30) days after entry of this Order, Defendant shall

cause notice to be delivered in the manner set forth in the Agreement to all Settlement Class

Members who can be identified with reasonable effort. Class Notices sent by U.S. Mail shall be

substantially in the form attached as Exhibit B to the Agreement, and a notice substantially in the

form attached as Exhibit C to the Agreement shall be posted at a website, the Internet address for

which shall be disclosed in the notices transmitted by U.S. Mail.

         8.        Filing of CAFA Notice. Before the Settlement Hearing, Defendant shall file with

the Court proof of compliance with the notice provisions of the Class Action Fairness Act of

2005 (“CAFA”), 28 U.S.C. § 1715.



                                                   4
4852-2084-8977v.4 0055960-000024
Case 1:16-cv-00960-JTN-ESC ECF No. 58 filed 12/19/17 PageID.258 Page 5 of 11




         9.        Findings Concerning Class Notice. The Court finds that the Class Notice and

the manner of its dissemination described in Paragraph 7 above and Paragraph 3.03 of the

Agreement constitutes the best practicable notice under the circumstances and is reasonably

calculated, under all the circumstances, to apprise Settlement Class Members of the pendency of

this action, the terms of the Agreement, and their right to object to or exclude themselves from

the Settlement Class. The Court finds that the notice is reasonable, that it constitutes due,

adequate and sufficient notice to all persons entitled to receive notice, and that it meets the

requirements of due process, Rule 23 of the Federal Rules of Civil Procedure, and any other

applicable laws.

         10.       Exclusion from Settlement Class. Each Settlement Class Member who wishes to

exclude himself or herself from the Settlement Class and follows the procedures set forth in this

Paragraph shall be excluded. Any potential member of the Settlement Class may mail a written

request for exclusion, in the form specified in the Class Notice, to the Settlement Administrator

at the address set forth in the Class Notice. All such written requests must be postmarked by

forty-five (45) days after the date established by the Court for the Settlement Administrator to

provide Class Notice. All persons who properly request exclusion from the Settlement Class

shall not be Settlement Class Members and shall have no rights with respect to, nor be bound by,

the Agreement, should it be finally approved. The names of all such excluded individuals shall

be attached as an exhibit to any Final Judgment.

         11.       Right to Abrogate Agreement. In the event more than a previously-agreed

number of Settlement Class Members to whom Defendant transmits notice timely exclude

themselves from the Settlement Class, Defendant shall have the unilateral right to abrogate the

Agreement by written notice of abrogation to Class Counsel in accordance with the procedures

set forth in the Agreement. If Defendant exercises its right to abrogate the Agreement, then all

aspects of the Agreement and the settlement underlying it, including but not limited to the

provisional certification of the Settlement Class for settlement purposes only, shall be altogether



                                                   5
4852-2084-8977v.4 0055960-000024
Case 1:16-cv-00960-JTN-ESC ECF No. 58 filed 12/19/17 PageID.259 Page 6 of 11




null and void, and no aspect of the Agreement, the settlement, or this Order shall serve as legal

precedent or as any basis for legal or factual argument in this or any other case.

         12.       Claims Procedures. The Court approves the claims procedures set forth in the

Agreement. The Court approves the form and content of the Claim Form substantially in the

form attached as Exhibit D to the Agreement. A properly executed Claim Form must be

submitted as required in the Class Notice over the Internet or postmarked not later than forty-five

(45) days after the date on which Class Notice is first transmitted. Such deadline may be further

extended by Court Order. Each Claim Form shall be deemed to have been submitted when

submitted over the Internet or postmarked (if properly addressed and mailed by first-class mail,

postage prepaid), provided such Claim Form is actually received no less than thirty (30) days

prior to the Distribution Date. Any Claim Form submitted in any other manner shall be deemed

to have been submitted when it was actually received at the address designated on the Claim

Form.

         13.       Costs of Class Notice and Claims Processing. Defendant shall bear all costs of

notice to the Settlement Class of the pendency and settlement of the Action and of processing

claims, which shall be paid from the Settlement Fund.

         14.       Objections and Appearances.

                   (a)      Written Objections. Any Settlement Class Member who has not timely

submitted a written request for exclusion from the Settlement Class, and thus is a Settlement

Class Member, may object to the fairness, reasonableness, or adequacy of the Agreement, or the

Fee and Expense Application. Any Settlement Class Member who wishes to object to the

Settlement, must submit his or her objection in writing to Class Counsel, Attn: Gary F. Lynch,

Carlson Lynch Sweet Kilpela & Carpenter, LLP, 1133 Penn Avenue, 5th Floor, Pittsburgh, PA

15232, postmarked no later than seventy-five (75) days after entry of this Order. Class Counsel

will file copies with the Court via ECF. The objection must be personally signed by the objector,

and must include: (1) the objector’s name and address; (2) an explanation of the basis upon

which the objector claims to be a Settlement Class Member, including the Wenner Magazine to

                                                   6
4852-2084-8977v.4 0055960-000024
Case 1:16-cv-00960-JTN-ESC ECF No. 58 filed 12/19/17 PageID.260 Page 7 of 11




which he or she is or was a subscriber; (3) all grounds for the objection, including all citations to

legal authority and evidence supporting the objection; (4) the name and contact information of

any and all attorneys representing, advising, or in any way assisting the objector in connection

with the preparation or submission of the objection or who may profit from the pursuit of the

objection (the “Objecting Attorneys”); and (5) a statement indicating whether the objector

intends to appear at the Final Approval Hearing (either personally or through counsel who files

an appearance with the Court in accordance with the Local Rules). If a Settlement Class

Member or any of the Objecting Attorneys has objected to any class action settlement where the

objector or the Objecting Attorneys asked for or received any payment in exchange for dismissal

of the objection, or any related appeal, without any modification to the settlement, then the

objection must include a statement identifying each such case by full case caption. Any

objection not timely made in this manner shall be waived and forever barred.

                   (b)      Appearance at Settlement Hearing. Any objecting Settlement Class

Member who wishes to address the Court at the Settlement Hearing must indicate his or her

intent to do so in writing to Class Counsel at the same time that the Settlement Class Member

submits the objection and must identify any witnesses and documents that he or she intends to

use or submit at the Settlement Hearing. Class Counsel will inform the Court and Defendant’s

counsel accordingly. Any Settlement Class Member who does not timely deliver a written

objection and notice of intention to appear by seventy-five (75) days after entry of this Order, in

accordance with the requirements of this Order, shall not be permitted to object or appear at the

Settlement Hearing, except for good cause shown, and shall be bound by all proceedings, orders

and judgments of the Court.

                   (c)      Fees and Cost Application. Class Counsel shall file their Fee and Cost

Application, together with all supporting documentation, by no later than thirty (30) days from

entry of this Order, sufficiently in advance of the expiration of the objection period that any

Settlement Class Member will have sufficient information to decide whether to object and, if

applicable, to make an informed objection.

                                                     7
4852-2084-8977v.4 0055960-000024
Case 1:16-cv-00960-JTN-ESC ECF No. 58 filed 12/19/17 PageID.261 Page 8 of 11




                   (d)      Motion for Final Approval and Responses to Objections. Representative

Plaintiffs shall file with the Court their motion for final approval of the Settlement and any

responses to objections to the Agreement or the Fee and Cost Application, together with all

supporting documentation, within twenty-one (21) days after the deadline for serving objections.

         15.       Dates of Performance. In summary, the dates of performance are as follows:

                   (a)      Defendant shall send the Class Notice to potential Settlement Class

Members on or before ____________,
                       1/18/2018 i.e., within thirty (30) days after entry of this Order;
                   (b)      Class Counsel’s Fee and Expense Application, and all supporting

materials, shall be filed no later than 1/18/2018
                                        ________, i.e., within thirty (30) days after entry of this

Order;

                   (c)      Settlement Class Members who desire to be excluded shall mail requests
                              3/5/2018
for exclusion postmarked by ____________, i.e., within seventy-five (75) days after entry of this

Order;

                   (d)      All objections to the Agreement or the Fee and Cost Application shall be

mailed and postmarked by ___________,
                           3/5/2018   i.e., within seventy-five (75) days after entry of this

Order;

                   (e)      Representative Plaintiffs’ final approval motion, responses to objections,

and all supporting materials, shall be filed by _____________,
                                                  3/26/2018    i.e., within twenty-one (21) days

after expiration of the deadline for objections;
                                                                 at a date and time to be noticed by the Court.
                   (f)      The Settlement Hearing shall be held on ______________, at _____

a.m./p.m.; and

                   (g)      Settlement Class Members who desire to submit Claim Forms shall do so

by _____________,
     3/5/2018     i.e., seventy-five (75) days after entry of this Order.

         16.       Effect of Failure to Approve the Agreement. In the event the Court does not

finally approve the Agreement, or for any reason the Parties fail to obtain a Final Judgment as

contemplated in the Agreement, or the Agreement is terminated pursuant to its terms for any

reason, then the following shall apply:

                                                      8
4852-2084-8977v.4 0055960-000024
Case 1:16-cv-00960-JTN-ESC ECF No. 58 filed 12/19/17 PageID.262 Page 9 of 11




                   (a)      All orders and findings entered in connection with the Agreement shall

become null and void and have no further force and effect, shall not be used or referred to for

any purposes whatsoever, and shall not be admissible or discoverable in any other proceeding;

                   (b)      The conditional certification of the Settlement Class pursuant to this Order

shall be vacated automatically, and the case shall return to its status as it existed before entry of

this Order;

                   (c)      Nothing contained in this Order is, or may be construed as, any admission

or concession by or against Defendant or Representative Plaintiffs on any point of fact or law,

including, but not limited to, factual or legal matters relating to any effort to certify this case as a

class action for purposes of considering settlement approval; and

                   (d)      Nothing in this Order or pertaining to the Agreement shall be used as

evidence in any further proceeding in this case, including, but not limited to, motions or

proceedings pertaining to treatment of this case as a class action.

         17.       Discretion of Counsel. Counsel are hereby authorized to take all reasonable steps

in connection with approval and administration of the Settlement not materially inconsistent with

this Order or the Agreement, including, without further approval of the Court, making minor

changes to the content of the Class Notice that they jointly deem reasonable or necessary.

         18.       Stay of Proceedings Pending Approval of the Settlement. All proceedings before

the Court are stayed pending final approval of the settlement, except as may be necessary to

implement the settlement or comply with the terms of the Agreement.

         19.       Injunction Against Asserting Released Claims Pending Settlement Approval.

Pending final determination of whether the settlement should be approved, Representative

Plaintiffs, all Settlement Class Members, and any person or entity allegedly acting on behalf of

Settlement Class Members, either directly, representatively or in any other capacity, are

preliminarily enjoined from commencing or prosecuting against the Released Parties any action

or proceeding in any court or tribunal asserting any of the Released Claims, provided, however,

that this injunction shall not apply to individual claims of any Settlement Class Members who

                                                      9
4852-2084-8977v.4 0055960-000024
Case 1:16-cv-00960-JTN-ESC ECF No. 58 filed 12/19/17 PageID.263 Page 10 of 11




timely exclude themselves in a manner that complies with this Order. This injunction is

necessary to protect and effectuate the settlement, this Order, and the Court’s flexibility and

authority to effectuate this settlement and to enter judgment when appropriate, and is ordered in

aid of the Court’s jurisdiction and to protect its judgments pursuant to 28 U.S.C. § 1651(a).

         20.       Reservation of Rights and Retention of Jurisdiction. The Court reserves the

right to adjourn or continue the date of the Settlement Hearing without further notice to

Settlement Class Members, and retains jurisdiction to consider all further applications arising out

of or connected with the settlement. The Court may approve or modify the settlement without

further notice to Settlement Class Members.



IT IS SO ORDERED.


Dated: _____________
        December 19, 2017                          /s/ Janet T. Neff
                                                 UNITED STATES DISTRICT COURT JUDGE

Presented by:



Dated: _____________                               Respectfully submitted,

                                                   /s/ Gary F. Lynch
                                                   Gary F. Lynch
                                                   CARLSON LYNCH SWEET KILPELA &
                                                   CARPENTER, LLP
                                                   1133 Penn Avenue, 5th Floor
                                                   Pittsburgh, PA 15232
                                                   (412) 322-9243
                                                   glynch@carlsonlynch.com

                                                   Attorney for Plaintiffs



Dated: _____________                               Respectfully submitted,

                                                   /s/ Sharon L. Schneier
                                                   DAVIS WRIGHT TREMAINE LLP

                                                  10
4852-2084-8977v.4 0055960-000024
Case 1:16-cv-00960-JTN-ESC ECF No. 58 filed 12/19/17 PageID.264 Page 11 of 11



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                                     11
4852-2084-8977v.4 0055960-000024
